Case 1:18-cv

-00711-GLR

ALENDA STEPHENS, Individually

7190 Chapman Drive

Camp Lejeune, N.C. 28547

and

JOEL CURTIS STEPHENS

7190 Chapman Drive

Camp Lejeune, N.C. 28547

Claimants

Vv.

JOSEPH A. HALPERN, M.D.
2001 Medical Parkway

Annapolis, MD 21401

And

DONALD KLEIN, P.A.
2001 Medical Parkway

Annapolis, MD 21401
And

ERIC RITTER, M.D.

2001 Medica! Parkway

Annapolis, MD 21401

And

DOCTOR'S EMERGENCY SERVICES, P.A.
2001 Medical Parkway

Annapolis, MD 21401

Serve On:

And

ANNE ARUNDEL MEDICAL CENTER, INC.

Resident Agent

James S. Jacobs, Esquire
One South St., Ste. 2160
Baltimore, MD 21202

d/b/a ANNE ARUNDEL MEDICAL CENTER
2001 Medical Parkway

Document 1-5 Filed 03/09/18 Page 1 of 5

BEFORE THE

HEALTH CLAIMS
ALTERNATIVE DISPUTE
RESOLUTION OFFICE

OF MARYLAND

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Annapolis, MD 21401

Serve On: Resident Agent
The Corporation Trust Inc *
351 West Camden Street

Baltimore, MD 21201 *
Health Care Providers *
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CERTIFICATE OF MERIT

 

I, Gayle Galan, M.D., hereby certify that I am board certified in the field of

Emergency Medicine. I hereby certify that less than 20% of my professional activities are
devoted to activities that directly involve testimony in personal injuty claims.

J hereby certify that I have reviewed the medical records of Alenda Stephens
pertaining to the care and treatment rendered to her by Joseph Halpern, M.D., Don Klein, P.A.,
Eric Ritter, M.D., and Anne Arundel Medical Center (by and through its apparent agents, agents,
servants, and/or employees, including but not limited to, Joseph Halpern, M.D., Don Klein, P.A.,
Erie Ritter, M.D.) on December 22-23, 2014.

I hereby certify that based on my training, expertise and review, the care and
treatment rendered to Alenda Stephens by Joseph Halpern, M.D., Don Klein, P.A., Eric Ritter,
M.D., and Anne Arundel Medical Center (by and through its apparent agents, agents, servants,

and/or employees, including but not limited to, Joseph Halpern, M.D., Don Kiein, P.A., Eric

 

Ritter, M.D.} on December 22-23, 2014 failed to comply with the standards of care and was a
proximate cause of her injuries in this case.
T hereby certify that I have read the above and that it is true and correct to the best

of my knowledge, information and belief.

 

 

Gaylé Galarf, M.D.
Case 1:18-cv-00711-GLR

ALENDA STEPHENS, Individually
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Document 1-5 Filed 03/09/18 Page 3 of 5

* BEFORE THE

* HEALTH CLAIMS

* ALTERNATIVE DISPUTE
* RESOLUTION OFFICE

* OF MARYLAND

* HCADRO No.

DOCTOR'S EMERGENCY SERVICES, P.A. *

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Annapolis, MD 21401

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Case 1:18-cv-00711-GLR Document 1-5 Filed 03/09/18 Page 4 of 5

Annapolis, MD 21401

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Health Care Providers *
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REPORT OF GAYLE GALAN, MLD..
I, Gayle Galan, M.D. have reviewed the medical records of Alenda Stephens
pertaining to the care and treatment rendered to her by Joseph Halpern, M.D., Don Klein, P.A.,
Eric Ritter, M.D., and Anne Arundel Medical Center (by and through its apparent agents, agents,
servants, and/or employees, including but not limited to, Joseph Halpern, M.D., Don Klein, P.A.,
Eric Ritter, M.D.) on December 22-23, 2014.

Based upon my review, I conclude that the medical care and treatment rendered to
Alenda Stephens by Joseph Halpern, M.D., Don Klein, P.A., Eric Ritter, M.D., and Anne
Arundel Medical Center (by and through its apparent agents, agents, servants, and/or employees,
including but not limited to, Joseph Halpern, M.D., Don Klein, P.A., Eric Ritter, M.D.) on
December 22-23, 2014 failed to comply with the standards of care and was a proximate cause of
her injuries in this case.

More specifically, Joseph Halpern, M-D. and Don Klein, P.A., breached the standards of
care in the following ways: (a) failed to perform an appropriate assessment on December 22,
2014; (b) failed to suspect Stevens-Johnsons Syndrome and treat with appropriate acuity Mrs.
Stephens severe skin reaction and dermatologic emergency on December 22, 2014; (c) failed to
place Mrs. Stephens on appropriate antibiotics, IV steroids, topical eye steroids, eye hydration

therapy (via eye drops), skin therapy, and medication therapy on December 22, 2014; (d) failed

 

 
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to timely order an immediate epthamology and intensivist consult on December 22, 2014; (e)
failed to immediately transfer Ms. Stephens to a burn center on December 22-2014; (f) failed to
prevent all of Mrs. Stephens’ injuries; and (g)was otherwise negligent and careless. I hereby
certify that these breaches in the standard of care were a proximate cause of injury to Mrs.
Stephens.

The Defendant, Eric Ritter, M.D., breached the standards of care in the following ways:
(a) failed to place Stevens-Johnsons Syndrome high on his differential diagnosis and treat her
immediately and appropriately with appropriate antibiotics, ITV steroids, topical eye steroids, eye
hydration therapy (via eye drops), skin therapy, and medication therapy on December 22-23,
2014; (b) failed to timely order an immediate opthamology and intensivist consult on December
22 ~ 2, 2014; (c) failed to immediately transfer Ms. Stephens to a burn center on December 22-
2014; (d) failed to prevent all.of Mrs. Stephens! injuries; and (e)was otherwise negligent and
careless. I hereby certify that these breaches in the standard of care were a proximate cause of
injury to Mrs. Stephens.

The Defendant AAMC, by and through its agents, apparent agents, servants, and/or
employees (including but not limited to Joseph Halpern, M.D., Don Klein, P.A., and Eric Ritter,
M.D.)., were negligent and careless in the manner listed in the paragraphs above. I hereby certify
that these breaches in the standard of care were a proximate cause of injury to Mrs. Stephens.

These opinions are preliminary based upon the records and are subject to change, be
added to, and/or modified as discovery progresses. I hereby certify that ] have read the above

and that it is true and correct to the best of my knowledge, information and belief.

HAD

 

Gayle Galaf, M.D.

 
